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Exhibit

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Perdido Street Entrance

 

2900 Perdido Street, between S Dupre and S Gayoso

 

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September, 2011 — OPSO breaks ground on the new, 433,000 sq. ft. Orleans
Justice Center.

June, 2013 - a Consent Judgement was entered among and between the
Plaintiff class; Department of Justice; and the Orleans Parish Sheriff. The
purpose of the agreement was to address alleged constitutional violations in
the treatment of inmates at Orleans Parish Prison. Through the provisions of
this agreement, the parties would seek to ensure that the conditions in the
Orleans Parish Prison (OPP) protect the constitutional rights of prisoners
confined at OPP.

December, 2014 — OPSO moves acute mental/medical male inmates to Elayn
Hunt Correctional Facility in St. Gabriel, La.

November, 2015 — OPSO opens the new, 1,438-bed, Orleans Justice Center.

June, 2016 - The Orleans Parish Sheriff’s Office (OPSO), Department of Justice
and Plaintiffs signed a Stipulated Order creating the position of Independent
Jail Compliance Director. The Compliance Director has final authority to
operate the Orleans Justice Center (OJC) and all jail facilities.

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¢ The Stipulated Order required the Compliance Director to make
recommendations to the Court on three mayor topics: The youthful
inmate population currently housed at OJC, the “Docks” holding area for
the inmate population going to and from Criminal District Court, and a
decision on a long-term solution for the inmate population affected by
acute and sub-acute mental health and medical needs.

January, 2017 - The Compliance Director submitted the supplemental
compliance action plan with recommendations for the acute and sub-acute
mental health and medical service needs. The Medical Services Building
referred as Phase III facility would include: a housing capacity of 89 security
beds and 14 infirmary beds (total of 103 beds), it would accommodate only
Male and Female inmates with acute and sub-acute mental disorders. The
design would also provide space for laundry service, family and attorney
visitation, an infirmary and a medical clinic to provide services currently
provided at OJC Phase II; administrative space for medical and mental health
staff now assigned to the OIC facility.

 
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January, 2018 — The City breaks ground on new, 28-bed Juvenile Justice
Center Addition.

March, 2018 - The City hires Hill International and Grace Hebert Curtis
Architects to provide Project Management and Architectural Services for the
design and construction of a new 89-bed male and female mental and
medical services building on the OJC campus.

September, 2018 — City issues NTP for the renovation of the OPP 3" floor
“Docks”.

November, 2019 — City completes construction of the new, 28- bed, Juvenile
Justice Center Addition.

February, 2020 — City completes renovations of the OPP 3" floor “Docks”.
March, 2020 — COVID-19
June, 2020 — City asks Federal Judge to modify Phase III Plan to renovate the

2"4 floor of the existing OJC Inmate Facility to accommodate the medical
services scope of work.

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August, 2020 — The City completes the renovation of TDC buildings #1 and #2.
September, 2020 — OPSO moves inmates from Elayn Hunt into TDC.

January, 2021 — Federal Judge directs the City to move forward with the
current Phase III design.

February, 2021 — Capital Projects/GHC Architect begin engagements with City
Planning to begin Conditional Use/NPP process.

March, 2021 - Capital Projects/GHC begin engagements with FEMA/EHP to
begin the EHP 106 process.

 
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2900 Perdido Street, between S Dupre and S Gayoso

 
 
 
       

 
 

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S.GAYOSO ST.

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EXISTING SERVICES
KITCHEN/ | BUILDING apt
WAREHOUSE |

    
  
  

S:BROAD AVE.

   
 
 
 

         
    
   

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KITCHEN/
WAREHOUSE
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OJC MEDICAL»
SERVICES BUILDING

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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INTERSTATE 10

Architectural Site Plan

We are applying for an
amendment to an existing
conditional use ordinance

* This would authorize the
expansion of the prison in
an LI Light Industrial
Dagies

We are also applying for a
variance to exceed the set
back of 20 feet required by
Section 16.3.A.2 of the zoning
ordinance

¢ Due to the existing utility
pipes that go from the
building on the lake side of
the property to the jail on
the river side, we can not
build up to the 20’ setback

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EXISTING
KITCHEN ,
WAREHOUSE

 

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First Floor Plan

Housing that serves acute
mental health inmates

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Ni 1 4 * 2-story 80,500 SF facility

PROPERTY LINE

* 106,000 SF site

 

 

 

a Three areas:
(5 on the 1° floor

39 bed male housing unit

| r
I sceewsc on the 1° floor
HOUSING

. =" 38 bed male housing unit
on the 2™ floor

 

 

nf * 12 bed female housing unit

 

 

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d Tal 5 a» =) \ Access to outdoor fresh air
1 = and exercise space from the
| | |e }/ common Dayroom space
| \ . bt sot
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Second Floor Plan

Nurse and security station

     
 

 

° mm * Located in the center of each
dayroom
LU ¢ Allows for observation of the
. entire housing area

    

 

 

 

 

 

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woar. iff Joint male/female housing support
BRIDGE & PIFES :
/ ‘ * Counseling rooms
}— 7 Ae, 7 fe
—+-—$_— ~S 4 ¢* Mental health staff work areas
| Centralized visitation
ie ¢ Attorney and family visits
; EXISTING —— : :
EXISTING Le * Public entry point
KITCHEN), Wal
WAREHOUSE
Additional Spaces:
Taiigaat la

x Clinic with 6 exam rooms

Phlebotomy

Dental services

 

Administration areas

 

 

 

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INTERSTATE 10 = |
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* Complete Design — September, 2021
¢ Start Construction — January, 2022

¢ Finish Construction — August, 2023

Estimated project costs = $51 mil

 
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CITY OF NEW ORLEANS ONLINE TOOLS

CITY PLANNING COMMISSION WEBSITE

nola.gov/cpc
The City Planning Commission website hosts a number of important documents and tools. CPC meeting
agendas, videos, and staff reports can be viewed on the website as well 2s regulatory and planning

 

such as the Comprehensive Zoning Ordi and the Master Plan.
COMPREHENSIVE ZONING ORDINANCE
czo.nola. gov

The entire text of the Comprehensive Zoning Ordinance can be viewed on this website.

NOTICEME

noticeme.nola.gov/

NoticeMe is a personalized notification tool that emails citizens to inform them of opportunities for public
input on proposed land-use changes. This system that offers a way for interested parties to stay informed
for land use proposals in an individually selected area. Once registered, the email address will receive
notices of when a public hearing is scheduled and when a report is ready. You will also be notified of the
action of the City Planning Commussion or Board of Zoning Adjustments.

 

ONE STOP APP

http://onestopapp nola.gov/search.aspx

The One Stop App pulls up-to-date information directly from the City’s official record. This tool is used
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to:

Find information about a permit, license, planning project, or violation in progress.

Initiate an application for many types of permits and licenses without coming to City Hall.
Research what has been permitted, licensed, or cited at a particular location or during a user defined
time frame.

PROPERTY VIEWER
property.nola.gov

The Property Viewer provides zoning and land use information for all properties within the City of New
Orleans. The Property Viewer displays “layers” of information that includes the Master Plan Future Land
Use Map, zoning distncts, and the locations of site-specific zonmg achons approved by ordimance which
includes Conditional Uses, Exceptional Uses, and Planned Development Distncts. Links are provided that
can take the viewer to the applicable section of the Comprehensive Zoning Ordinance and Assessor

Required NPP Meeting Handout # 1

Additional Online Tools

City Planning Commission

* Nola.gov/cpc

Comprehensive Zoning
Ordinance

* (Czo.nola.gov

NoticeMe

* Noticeme.nola.gov

One Stop

* Onestopapp.nola.gov

Property Viewer

¢ Property.nola.gov

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Direct any questions or comments to

OJCMedicalServices2900@gmail.com

 
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